  Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 1 of 7 PageID #: 1




DivIP:CRH/JAM/JGH                                             Filed: August 26, 2020
F. #2020R00515

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OFNEW YORK
---------------------------X

UNITED STATES OF AMERICA                                    INDI CTMENT
                                                                                          Judge Rachel P. Kovner
       - agamst                                                     1:20-cr-00326 Mag. Judge Steven M. Gold
                                                            Cr.No. ---------
                                                            (T. 18, U.S.C., §§ 922(g)(5)(A),
DZENAN CAMOVIC,                                              924(a)(2), 924(c)(l)(A)(D,
                                                             924(c)(1)(A)(iI), 924(c)(1)(A)(iii),
                          Defendant.                         924(d)(l), 924@, 981(a)(l)(C),
                                                             1951(a) and 3551 et seq.;T. 21,
                                                             U.S.C., § 853(p); T. 28, U.S.C.,
                                                             § 2461(c))
----------------------------X
THE GRAND JURY CHARGES:

                                          INTRODUCTION

                At all times relevant to this Indictment:

                1.      The defendant DZENAN CAMOVIC was a Bosnian national born in

Germany, and a resident of Brooklyn, New York. He had no legal immigration status in the

United States, and knew that he was an alien unlawfully in the United States.

                2.      On or about June 3, 2020, CAMOVIC approached two urriformed New

York City Police Department (''NYPD") officers in the vicinity of885 Flatbush Avenue in

Brooklyn, New York. Upon reachlng the NYPD officers, CAMOVIC stabbed one of

officers in the neck area with a knife.    CAMOVIC then chased after the second officer,

repeatedly and violently stabbing at the officer   with   the knife and eventually throwing the

knife at the officer.
  Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 2 of 7 PageID #: 2



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              3.      CAMOVIC then ran back toward the first officer, whom he had already

stabbed, and again attacked the officer.     A struggle ensued.   CAMOVIC fought for and

ultimately forcibly gained control of the officer's service weapon, thereby robbing the officer

ofhis service weapon through the use of force.      The officer's service weapon was a SIG

Sauer P226 black semiautomatic 9mm handgun manufactured outside the State of New

York.

               4.     After gaining control of the officer's service weapon, CAMOVIC

brandished the weapon and fired multiple shots at several officers, including at one or more

officers who responded to the scene.       Several officers were wounded during the course of

CAMOVIC's attack.

               5.     The NYPD had a presence, and employed police officers and other

employees that operated in their official capacities, in multiple locations outside of New

York State and outside of the United States.

                                         COUNTONE
                                      (Hobbs Act Robbery)

               6.     The allegations contained in paragraphs one through five are realleged

and incorporated as if fully set forth in this paragraph.

               7.      On or about June 3, 2020, within the Eastern District ofNew York, the

defendant DZENAN CAMOVIC did knowingly and intentionally obstruct, delay and affect

commerce, and the movement of articles and commodities in commerce, by the robbery of a

firearm from a member ofthe NewYork City Police Department in the vicinity of885

Flatbush Avenue in Brooklyn, New York.

               (Title 18, United States Code, Sections 195l(a) and 3551 et seq.)
 Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 3 of 7 PageID #: 3



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                                     COUNTTWO
(Possessing, Brandishing and Discharging a Firearm in Furtherance ofa Crime of Violence)

               8.        The allegations contained in paragraphs one through five are realleged

and incorporated as jf fully set forth in this paragraph.

               9.        On or about June 3, 2020, within the Eastern District ofN ew York, the

defendant DZENAN CAMOVIC did knowingly and intentionally use and carry a :fireann

during and in relation to a crime of violence, to wit: the crime charged in Count One, and did

knowingly and intentionally possess such :firearm in furtherance of said crime of violence,

which :firearm was brandished and discharged.

               (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(il),

924(c)(1 )(A)(iil) and 3 5 51 et ~.)

                                          COUNTTHREE
                    (Theft of a Firearm That Has Moved in Interstate Commerce)

               10.       The allegations contained in paragraphs one through five are realleged

and incorporated as    rr fully   set forth in this paragraph.

               11.       On or about June 3, 2020, within the Eastern District of New York, the

defendant DZENAN CAMOVIC did knowingly and intentionally steal a :firearm which had

moved in interstate and foreign commerce, to wit: a SIG Sauer P226 black semiautomatic

9mm handgun, and ammunition.

               (Title 18, United States Code, Sections 924(1) and 3551 et seq.)

                                         COUNTFOUR
                        (Unlawful Possession of a Firearm and Ammunition)

               12.       The allegations contained in paragraphs one through five are realleged

and incorporated as    rr fully   set forth in this paragraph.
  Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 4 of 7 PageID #: 4



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              13.    On or about June 3, 2020, within the Eastern District of New York, the

defendant DZENAN CAMOVIC, knowing that he was an alien who was illegally and

unlawfully in the United States, did knowingly and intentionally possess in and affecting

commerce a firearm, to wit: a SIG Sauer P226 black semiautomatic 9mm handgun, and

ammunition

              (Title 18, United States Code, Sections 922(g)(5)(A), 924(a)(2) and 3551 et



                            CRil\t1INAL FORFEITURE ALLEGATION
                                      AS TO COUNT ONE

              15.     The United States hereby gives notice to the defendant that, upon his

conviction of the offense charged in Count One, the government will seek forfeiture in

accordance with: (a) Title 18, United States Code, Section 98l(a)(l)(C) and Title 28, United

States Code, Section 2461 (c), which require any person convicted of such offense to forfeit

any property, real orpersonaL constituting or derived from proceeds obtained directly or

indirectly as a result of such offense; and (b) Title 18, United States Code, Section 924(d)(l)

and Title 28, United States Code, 2461(c), which require the forfeiture of any firearm or

ammunition involved in or used in any violation of any other criminal law of the United

States.

               16.    If any of the above-descnbed forfeitable property, as a result of any act

or omission of the defendant:

                      (a)       cannot be located upon the exercise of due diligence;

                      (b)       has been transferred or sold to, or deposited with, a third party;

                      (c)       has been placed beyond the jurisdiction of the court;
  Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 5 of 7 PageID #: 5



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                      (d)      has been substantially dnninished in value; or

                      (e)      has been commingled with other property which cannot be

divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value of the forfeitable

property descnbed in this forfeiture allegation.

               (Title 18, United States Code, Sections 924(d)(l) and 981(a)(l)(C); Title 21,

United States Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                             CRIMINAL FORFEITURE ALLEGATION
                             ASTOCOUNTSTWOTHROUGHFOUR

               17.    The United States hereby gives notice to the defendant that, upon his

conviction of any of the offenses charged in Counts Two through Four, the government will

seek forfeiture in accordance with Title 18, United States Code, Section 924(d)(l) and Title

28, United States Code, Section 2461(c), which require the forfeiture of any :firearm or

ammunition involved in or used in any knowing violation of Title 18, United States Code,

Section 922 or Section 924, including but not limited to: one SIG Sauer P226 black

semiautomatic 9mm handgun, and ammunition, seized on or about June 3, 2020 in Brooklyn,

NewYork.

               18.     If any of the above-described forfeitable property, as a result of any act

or omission of the defendant:

                       (a)      cannot be located upon the exercise of due diligence;

                       (b)      has been transferred or sold to, or deposited with, a third party;

                       (c)      has been placed beyond the jurisdiction of the court;
 Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 6 of 7 PageID #: 6



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                      (d)    has been substantially diminished in value; or

                      (e)    has been commingled with other property which cannot be

                             divided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the defendant up to the value of the forfeitable

property descnbed in this forfeiture allegation

              (Title 18, United States Code, Section 924(d)(l ); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))


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SETH D. DUCHARME
ACTING UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
                  Case 1:20-cr-00326-RPK Document 1 Filed 08/26/20 Page 7 of 7 PageID #: 7


F. # 2020R00515
FORMDBD-34              No.
JUN.85

                              UNITED STATES DISTRICT COURT
                                       EASTERN District of NEW YORK
                                               CRIMINAL DIVISION

                                  THE UNITED STATES OF .ANIERICA
                                                             vs.

                                                   Dzenan Camovic
                                                                                            Defendant.

                                                 INDICTMENT
                             (T. 18, U.S.C., §§ 922(g)(5)(A), 924(a)(2), 924(c)(l)(A)(i),
                          924(c)(l )(A)(n), 924(c)(1 )(A)(iii), 924(d)(l ), 924(1), 981 (a)(l )(C),
                                   1951(a)and 3551 et~.; T. 21, U.S.C. § 853(p);
                                               T. 28, U.S.C., § 2461(c))


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                        Filed in open courtthis _________________ day.

                        of ____________ A.D.20 ____ _

                                                                                                    Clerk


                        Bail,$ __________ _



                                   Craig R. Heeren, Artie McConnell and Josh Hafetz
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